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            9     Attorneys for the Receiver
                  Lance Miller
          10

          11                                       UNITED STATES DISTRICT COURT

          12                                     EASTERN DISTRICT OF CALIFORNIA

          13
                  THE PRUDENTIAL INSURANCE                         ) No. 1:24-cv-01102-KES-SAB
          14      COMPANY OF AMERICA, et al.,                      )
                                                                   ) DECLARATION OF LANCE MILLER
          15                      Plaintiffs,                      ) IN SUPPORT OF UNOPPOSED MOTION
                                                                   ) OF RECEIVER LANCE MILLER FOR
          16                v.                                     ) ORDER AUTHORIZING ENGAGEMENT
                                                                   ) AND COMPENSATION OF CAPSTONE
          17      ACDF, LLC, et al.                                ) CAPITAL MARKETS LLC AS
                                                                   ) INVESTMENT BANKER
          18                      Defendants.                      )
                                                                   ) HONORABLE KIRK E. SHERRIFF
          19                                                       )

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                  1
                      Designated as counsel for service pursuant to L.R. 182(c)(1).

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            1     I, Lance E. Miller, declare, pursuant to 28 U.S.C. § 1746, under penalty of perjury as follows:
            2               1.   I am over the age of eighteen years, am under no disability, and am competent to
            3
                  testify to the matters set forth herein. Except as otherwise stated, all facts set forth in this declaration
            4
                  are based upon my personal knowledge and/or my review of documents. If called as a witness in
            5
                  this Case (defined below), I could and would testify competently to the facts set forth in this
            6

            7     declaration.

            8               2.   I submit this declaration in support of the Unopposed Motion of Receiver Lance Miller

            9     for Order Authorizing Engagement and Compensation of Capstone Capital Markets LLC as
          10
                  Investment Banker (the “Motion to Employ”). 2
          11
                            3.   I am the Founder and a Managing Director of Pivot Management Group, LLC (“Pivot
          12
                  Group”), a financial advisory and turnaround management firm with an office located at 1230
          13
                  Rosecrans Avenue, Suite 530, Manhattan Beach, California 90266. I have more than 19 years of
          14

          15      experience in complex receiverships, workouts, restructurings, corporate and shareholder disputes,

          16      and distressed M&A processes. As an attorney and later as a partner in distressed advisory firms
          17      (including Pivot Group), I have provided services over a multitude of industries and markets to
          18
                  companies, creditors, equity holders, asset purchasers, receiverships, and creditors’ trusts.
          19
                            4.    On September 16, 2024, The Prudential Insurance Company of America and PGIM
          20
                  Real Estate Finance, LLC (together, the “Prudential Lenders”) filed a Complaint for Breach of
          21

          22      Contract, Appointment of Receiver, Accounting and Specific Performance of Rents and Profits

          23      Clause; and Injunctive Relief [Dkt. No. 1] initiating the above-captioned case (the “Case”), and on

          24      September 18, 2024, an Ex Parte Application Regarding Motion for Order Appointing Receiver and
          25

          26
                  2
                      All capitalized terms used in this Declaration but not defined shall have the meanings ascribed
          27          to them in the Motion to Employ.
          28                                                        2
                                                         No. 1:24-cv-01102-KES-SAB
                                     DECLARATION OF LANCE MILLER IN SUPPORT OF UNOPPOSED MOTION OF
                                     RECEIVER LANCE MILLER FOR ORDER AUTHORIZING ENGAGEMENT AND
                                   COMPENSATION OF CAPSTONE CAPITAL MARKETS LLC AS INVESTMENT BANKER
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            1     for Preliminary Injunction [Dkt. No. 12].
            2                5.    On September 25, 2024, after notice and hearing, the Court entered the Agreed Order
            3
                  Appointing Receiver with Limited Authority [Dkt. No. 51, as amended by Dkt. No. 107] and on
            4
                  November 7, 2024, entered the Order Expanding Receivership and for Preliminary Injunction (the
            5
                  “Receivership Order”), appointing me as general receiver over the Receivership Property, as
            6

            7     defined in the Receivership Order. The scope of my duties under the Receivership Order are:

            8               [T]o preserve the Receivership Property and protect it from dissipation and diminution

            9               in value; (b) to conduct business and operations in connection with the Receivership
          10
                            Property, including the collection and disbursement of Proceeds; and (c) to assess
          11
                            whether a sale of the Receivership Property would maximize value, and, following that
          12
                            assessment and if appropriate in the Receiver’s reasonable judgment, implement an
          13
                            organized sale process of the Receivership Property, whether in whole or part, with any
          14

          15                sale of Receivership Property outside of the ordinary court of business subject to the

          16                Court’s approval.
          17      Receivership Order ¶ 23. In furtherance of these duties, the Receivership Order authorizes me to
          18
                  employ various professionals, including appraisers, liquidators, auctioneers, brokers, and other
          19
                  professionals to assist in the sales process. Receivership Order ¶ 3(o).
          20
                             6.    I, with the assistance of Pivot Group, have spent considerable time analyzing the
          21

          22      Receivership Property and related operations and have concluded, in the exercise of my business

          23      judgment, that a sale of the Receivership Property is appropriate. To maximize value, I have placed

          24      the Receivership Property into two categories in relation to the marketing and sale process: (1)
          25      parcels of real estate that should be sold together in order to maximize value (the “Farm
          26
                  Properties”), which are the subject of the Motion to Employ and listed on Exhibit B of the
          27

          28                                                          3
                                                           No. 1:24-cv-01102-KES-SAB
                                       DECLARATION OF LANCE MILLER IN SUPPORT OF UNOPPOSED MOTION OF
                                       RECEIVER LANCE MILLER FOR ORDER AUTHORIZING ENGAGEMENT AND
                                     COMPENSATION OF CAPSTONE CAPITAL MARKETS LLC AS INVESTMENT BANKER
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            1     Engagement Letter; and (2) parcels of real estate whose value is not linked to the operation of the
            2     Farm Properties (the “Excluded Properties”), which are or shall hereafter be the subject of a
            3
                  separate motion to employ a real estate broker.
            4
                            7.    I interviewed and considered eight separate firms before deciding to engage Capstone
            5
                  Capital Markets LLC (“Capstone”) as my investment banker in this Case, primarily because of
            6

            7     Capstone’s extensive experience in complex sales involving agricultural property and related water

            8     rights. I believe that Capstone’s experience, as set forth in the Motion to Employ, makes Capstone

            9     well situated to serve as my investment banker in this Case.
          10
                            8.    I believe that the terms of Capstone’s engagement and compensation, as set forth in
          11
                  the Engagement Letter, are warranted, reasonable, and appropriate under the circumstances.
          12
                            9.    The Engagement Letter contains standard indemnification and limitation of liability
          13
                  language with respect to Capstone’s services (the “Indemnity”). See Engagement Letter § 8. I
          14

          15      believe that the Indemnity is customary and reasonable for engagements of this type and should be

          16      approved.
          17                10.   I further believe, in the exercise of my business judgment, that hiring an investment
          18
                  banker to market and sell the Farm Properties, while hiring a broker to market and sell the Excluded
          19
                  Properties, will maximize value by permitting each set of properties to be marketed to its target
          20
                  demographic by a banker or broker knowledgeable of the market and the parties likely interested in
          21

          22      such properties.

          23                11.   For the avoidance of doubt, should Capstone negotiate an acceptable transaction(s)

          24      approved by myself, I will file a separate motion seeking the Court’s prior approval of such
          25      transaction free and clear of all liens, claims and encumbrances.
          26
                            12.   I respectfully request that the Court grant the Motion to Employ and enter an order
          27

          28                                                        4
                                                         No. 1:24-cv-01102-KES-SAB
                                     DECLARATION OF LANCE MILLER IN SUPPORT OF UNOPPOSED MOTION OF
                                     RECEIVER LANCE MILLER FOR ORDER AUTHORIZING ENGAGEMENT AND
                                   COMPENSATION OF CAPSTONE CAPITAL MARKETS LLC AS INVESTMENT BANKER
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Docusign Envelope ID: CE0072D9-D5FB-44EB-93AB-C65BC3769041

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            1     approving my engagement of Capstone.
            2               Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
            3
                  and correct.
            4
                  Executed on February 24, 2025
            5     In Manhattan Beach, California
            6
                                                                         By: ______________
            7                                                            Lance E. Miller
            8

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          28                                                         5
                                                         No. 1:24-cv-01102-KES-SAB
                                     DECLARATION OF LANCE MILLER IN SUPPORT OF UNOPPOSED MOTION OF
                                     RECEIVER LANCE MILLER FOR ORDER AUTHORIZING ENGAGEMENT AND
                                   COMPENSATION OF CAPSTONE CAPITAL MARKETS LLC AS INVESTMENT BANKER
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Docusign Envelope ID: CE0072D9-D5FB-44EB-93AB-C65BC3769041

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            1                                                PROOF OF SERVICE

            2     STATE OF ILLINOIS, COUNTY OF COOK

            3             At the time of service, I was over 18 years of age and not a party to this action. I am employed
                  in the County of Cook, State of Illinois. My business address is 525 W. Monroe St., Chicago, Illinois
            4     60661. On February 24, 2025, I served the following document(s) described as:

            5
                  DECLARATION OF LANCE MILLER IN SUPPORT OF UNOPPOSED MOTION OF
            6     RECEIVER LANCE MILLER FOR ORDER AUTHORIZING ENGAGEMENT AND
                  COMPENSATION OF CAPSTONE CAPITAL MARKETS LLC AS INVESTMENT
            7     BANKER

            8     as follows:

            9     [ ] BY MAIL: I enclosed the document(s) in a sealed envelope or package addressed to the
                  persons at the addresses listed above and placed the envelope for collection and mailing, following
          10      our ordinary business practices. I am readily familiar with Katten Muchin Rosenman LLP practice
                  for collecting and processing correspondence for mailing. On the same day that the correspondence
          11      is placed for collection and mailing, it is deposited in the ordinary course of business with the United
                  States Postal Service, in a sealed envelope with postage fully prepaid.
          12
                  [ ] BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused the document(s) to be sent
          13      from e-mail address terence.banich@katten.com to the persons at the e-mail address(es) listed
                  below. I did not receive, within a reasonable time after the transmission, any electronic message or
          14      other indication that the transmission was unsuccessful.

          15      [ ] BY OVERNIGHT MAIL (FedEx): I enclosed said document(s) in an envelope or package
                  provided by FEDEX and addressed to the persons at the addresses listed above. I placed the
          16      envelope or package for collection and overnight delivery at an office or a regularly utilized drop
                  box of FEDEX or delivered such document(s) to a courier or driver authorized by FEDEX to receive
          17      documents.

          18      [ ] BY PERSONAL SERVICE: I caused said document to be personally delivered the
                  document(s) to the person at the addresses listed above by leaving the documents in an envelope or
          19      package clearly labeled to identify the attorney being served with a receptionist or an individual in
                  charge of the office.
          20
                  [X] E-FILING: By causing the document to be electronically filed via the Court’s CM/ECF
          21      system, which effects electronic service on counsel who are registered with the CM/ECF system.

          22              I declare under penalty of perjury under the laws of the State of Illinois that the foregoing is
                  true and correct.
          23

          24                Executed on February 24, 2025, at Winnetka, Illinois.

          25                                                             /s/Terence G. Banich
                                                                         Terence G. Banich
          26

          27
                                                                     6
          28
                                                          No. 1:24-cv-0110-KES-SAB
                                     DECLARATION OF LANCE MILLER IN SUPPORT OF UNOPPOSED MOTION OF
                                     RECEIVER LANCE MILLER FOR ORDER AUTHORIZING ENGAGEMENT AND
                                   COMPENSATION OF CAPSTONE CAPITAL MARKETS LLC AS INVESTMENT BANKER
                302487977
